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          Exhibit 13
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                             UPSALA COLLEGE
                                      Prospect Street    ffAS'o ~ IPUBlJC ~
                                 East Orange, NJ 07019
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            The President & the
                  Deans




                             President Robert Karsten
   Upsala has been rolling with the changes by the aid of          ployees.
   President Karsten. He has brought a breach of fresh air         4. Pledge to "clean it up and fix it up."
   co the Upsala community since his first convocation on    President Karsten continually stresses the imp<)rtance
   September 6, 1989. Ac chis time, President Karsten        of working together as a community and how the
   laid out his four-point strategy.                         college has to be "a better place for our side in the fight
         1. Continued rise of Admission standards            against ignorance." President Karsten is a dedicated
         2. Elevation of Academic standards.                 man on a mission, and the Upsala community thanks
         3. Continued diligence and dedication of em-        him for his continued efforts and support.




2 • Opening
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                                                                               .I
                                     The Deans of Upsala College: (kfr to right) Dean of
                                     Academics, H. Edwin Titus; Dean of Students, John
                                     McIntyre; (lower lefr) Assistant Dean, William Al-
                                     exander.




                                                                               Opening• 3
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                        Campus Buildings



    In keeping with President Karsten's plan to       been put in the quad. Also, buildings and class-
  "clean it up" and "fix it up," this year has seen   rooms have been painted. One of the most
  many improvements on school grounds. The            notable changes has been the re-doing of
  grass has been kept up, flowers and plants have     Froeberg patio. This is only the beginning -
  been added all over campus and benches have         Upsala will keep improving in the future.
                                                                           ;

     ~




4 • Opening
           Case 3:23-cv-22130-MCR-ZCB   Document 155-14   Filed 03/14/25   Page 7 of 131




d class-




                                                                                   Opening• 5
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                         CAMPUS BUILDING


6 • Opening
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                                                            Prospect House




                                                            Viking Memorial Hall

                                           Froeberg Patio




GS


                                                                                   Opening• 7
     Case 3:23-cv-22130-MCR-ZCB                       Document 155-14    Filed 03/14/25   Page 10 of 131




                                                               Boat Trip




                                                                                                ~,   f




   Every year Upsala welcomes the incoming freshmen class with a
boat trip around Manhattan . This year, it was held on September 7th.
Freshmen, along with upperclassmen, went ro meet people and have
fun. People danced all night to the music and just enjoyed the view of
New York City .




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                                                                         Opening• 9
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                        RESIDENCE LIFE




   Residence Life

   Froeberg Hall




   Lisa Smith, Residence Life Director

   Bremer Hall




10 • Opening

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         I                                                                                            •
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                                1. to r.: RA's Sue Cackowski, Mark Barfield, Chris Wilson, Pete
                                Lutot, James Johnson, Niesha Lewis, Rachel Goldman, Immanuel
                                Muremi, Joan Dolder, Sohia Merunka, Yvette Crawley, David Ray,
                                Evelyn Leadbeater, Mike O'Callaghan, Bill Judge, Desiree Howard,
                                and Dani Washington. missing: Ian Basis.




   s So hia Merunka and Peter




                                                                                            Opening• 11
    Case 3:23-cv-22130-MCR-ZCB               Document 155-14          Filed 03/14/25       Page 14 of 131




                        Comedy Night
    A new feature this year at Upsala College was something called "Comedy Night ." Occurring every other Thursda_
it introduced the student body to up-and-coming comedians. This particular evening brought us juggler/ comedia!
Mark Nizer.




12 • Opening

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                 Case 3:23-cv-22130-MCR-ZCB   Document 155-14   Filed 03/14/25   Page 15 of 131




tr Th ursd ay.
~/ comedian




                                                                                         Opening• 13
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                                Homecoming '89 _
     This year, Upsala, with the help of our new president, Dr. Karsten, revived man.
  of its old Homecoming traditions. For the first time in ten years, Prospect St. was
  closed for a banner parade that included: two floats, 10 banners and the 198
  Homecoming Queen and her court. We also had a boardwalk on the lawn of 01
  Main. Different organizations had hot dogs, cookies, bracelets, and various othe
  items. For entertainment, we had a live jazz band performing along with a host o
  other performances. All in all, this year Homecoming had a sense of thrill an
  excitement it had not had in years.                       /




   * For more highlights of Homecom-
   ing '89, turn to page 112.




14 • Opening
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                                                                       Opening• 15
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                           I respect faith, but doubt is
                         what gets you an education.
                                                      -   Wilson Mizner




                         PEOPLE


                                                                                 17
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               Charis Adami                 Jeanette Armstrong
                  Theater                Human Resource Management




            Gordon Astwood                    Mark Barfield                  Angelique Berry
          Business Administration              Psychology



 18 • People
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           ..   Case 3:23-cv-22130-MCR-ZCB
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  Arocho
llogy




 Berry
                       aa.rice Bellino          Florence Brooks                  Lori Ann Cameron
                        .-\mhropology             Biochemistry                Political Science and Gov't.
                                                                               Business Administration


                                                                                                     People• 19
Case 3:23-cv-22130-MCR-ZCB                   Document 155-14       Filed 03/14/25   Page 22 of 131




                Carlo Caparruva                        J. Carbonne
      Political Science and Gov't. History




               Kathleen Carson                       Craig Cheetham                   Tommy Colavito
                   English                           Communications                 Business Administration



 20 • People

                                                       -
                      -     -- ~             ----------        -     -      - ------ -        •               .....        •

     l                                                                                                                ·_
               Case 3:23-cv-22130-MCR-ZCB   Document 155-14      Filed 03/14/25   Page 23 of 131




idinali
tinistration




1vito
    rion            Yvette Crawley            Shawnette Culver                Joanne Dugle
                     Biochemistry              Communications            Human Resource Management
                      Chemistry


                                                                                            People• 21
Case 3:23-cv-22130-MCR-ZCB                 Document 155-14         Filed 03/14/25   Page 24 of 131




                 Kevin Egan                          Edgar Feliciano
                Communications                    Business Administration




               Vivian Fernandez                      Maribel Fermin                      Cheryl Franchino
                    English                   Computer and Information Systems              Accounting



 22 • People

                                                                                                        -




       -   -   -- ---        -   - - - -
   ~                                                                                 •
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chino
                  Dawn Frenzel               Antonio Gary                  Joseph Gerber
           .:   an Resource Management          Biology             Computer and Information Systems
                    Psychology


                                                                                            People• 23
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        Ellen-Elizabeth Golden                    Melissa Grant
               Psychology                          Social Work




           Marlene Gutierrez                      Dorel Hatke                         Alia Jebara
        Political Science and Gov't.     Computer and Information Systems             Biochemistry



24 • People
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                                                  \




nisrry           Tracy King                Suzanne Klie                  Evelyn Leadbeater
                   History                  Psychology             Multi-National Corporate Studies



                                                                                           People• 25
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                  Kyung Soon Lee               Julie Lowenbach
                     Biology                       Philosophy




                  David Macheska                Enio Martinez                      Elizabeth Mauncele
                      English                      English                      Human Resource Managemea::
                      History


26 • People

                                                                                     --       - - - -- -
       -          -    ~---- -     -
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       '11'                                                                                                  •
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c.: ee

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              :>ebra McCoy               Michael Mischler                      Elaine Mokrycki
                 English              Human Resource Management         Multi-National Corporate Studies



                                                                                                People• 27
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                Joseph Molinaro                         Wendy Morris
      Political Science and Gov't. History          Business Administration




             Annette Olesnicki                           Mary Parker                       Jennifer Passaro
       Multi-National Corporate Studies             Business Administration          Computer and Information :



 28 • People
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ISaro
cion Systems       :Matthew Podracky                  David Ray                            Eric Reynolds
                        Psychology          Multi-National Corporate Studies
                      Resource Management


                                                                                                           People• 29
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           Sharon Rigoloso                Sondra Rizzo                       Michelle Rouse
         Business Administration     Human Resource Management        Computer and Information S
                                            Psychology




          Veronica Schepers               Carol Schanbel                     Marie Schraff
              Psychology                    Philosophy                  Human Resource Manag=
       Human Resource Management


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            Case 3:23-cv-22130-MCR-ZCB   Document 155-14           Filed 03/14/25   Page 33 of 131




r              :>eborah Schuyler         Edmund Skowronski                    Bobbi Jean Smith
    emenr       Communications           Business Administration               Communications



                                                                                                People• 31
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                                               Henrietta Smith                 Wayne Smith
                                                                               Communications




             Rosanne Stewart                    Barbara Stott                Kathleen Sweitzer
         Human Resource Management               Biochemistry               Business Administra •



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i Smith                   K. Thomas                    Rosemarie Winrow
nications                                           Human Resource Management
                                                           Psychology




iweitzer                Laura Zerbian                   Natasha Zivanov
tinistration     _clri-National Corporate Studies            History



                                                                                                      People• 33
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                                  Candidates for Degrees
       (Graduates and honors listed in rhis program are based on seven semesters of work. All honors listed on diplomas and/or transcrip
                                            are based on rhe full record of all workat Upsala College.)


                                                        Bachelor of Arts
     Andrew Olive Abbate                           Vivian Fernandez                               Wendy Morris (s)
     Charis Elaine Adami                           George R. Finkeldey, Jr.                       Drew John Morrison
     Alison Ruth Aquino*                           Octavia C. Fisher (s)                          Michelle Jeanne Mras
     Jeannette Theresa Armstrong                   Checyl Lynn Franchino                          Christine Elizabeth Murray
     Annette Arocho (s)                            Dawn Marie Frenzel*                            Annette Sophie Olesnicki
     Earlston G. Astwood                           Lawrence Robert Friedman                       Eric Ian Orseck**
     Mark Barfield                                 Barbara Gail Gardner**                         Mylene C. Pacquing (s)
     David Baumann                                 Ellen-Elizabeth Golden (s)                     Macy Jeannette Parker
     John V. Beck                                  Joseph Anthony Grandinetti                     Matthew P. Podracky**
rt   Charles E. Bell                               Melissa Ann Grant                              Orlando Quinones
     Clarice Mae Bellino***                        Marlene DelCarmen Gutierrez                    Colin H. Quintal
     Jane Mills Boynton (s)***                     Angeline V. Harris                             Tracy Lynne Ramos
     Jeffrey Edward Briggs                         Thomas Michael Harvey                          Judith Reynolds
     Judith Ann Bfomirski                          Stefanie Ann Holzer (s)                        Judith Ellen !l!c:kes
     Theresa Anne Brothers**                       Michael Joseph Janish                          Sharon Ann Rigoloso
     Lori Ann Cameron                              Wanda R. Johnson (s)                           Sondra Rizzo
     Carlo John Caparmva (s)                       John G. Julia                                  Michelle Rouse
     Gina Cardinali (s)                            Sandra Caroline Julien                         John]. Ruby
     Kathleen M. Carson                            Kerianne Kelly                                 Anthony R . Ruffin
     Craig Donald Cheetham (s)                     Tracy J. King                                  Veronica Lee Schepers**
     John P. Ciccone                               Suzanne Margaret Klie**                        Carol Lynne Schnabel**
     Tommy Colavito                                Carol Laginha                                  Jennifer Anne Schoenek (s)
     William Howard Conrad*                        Gacy Keith Lanza***                            Deborah L. Schuyler**
     Dena L. Cook                                  John Peter Lonsiak (s)                         Wilsie Sejour
     Shawnett Daneen Culver (s)                    Julie H. lowenbach (s)*                        Vanessa Lorraine Simons
     Kelly Ann Daly*                               Laura J. Lutz**                                Edmund Frank Skowronski
     Patrick R. DeMare, III                        Glenn A. MacAfee                               Bobbi Jean Smith (s)
     Thomas DeVaney (s)                            David Michael Macheska***                      Wayne L. Smith
     Deborah Ann Dietzel***                        Robert A. Mamacy                               Hermina Patricia Thomas (s)
     Lisa Denise Doctor                            Enio J. Martinez                               Sheri L. Tyson
     Kevin Peter Egan (s)                          Debra E. McCoy                                 Jon William Weller
     Walter Edward Ennis                           Michael Matthew Mischler                       Mark Wilborn
     Edgar Feliciano                               Dorothy D. Minihan                             Steven Gregocy Willis
                                                   Elaine June Mokrzycki (s)                      Laura Ann Zerbian
                                                   Joseph Anthony Molinaro                        Natasha Zivanov

                 Summa Cum Laude
                 Magna Cum Laude
                 Cum Laude
     (s)         Students Completing Degree Requirements During Summer, 1990



     34 • People
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                                                             Bachelor of Science
 'or transcripts          ·d Alcober (s)                    Anne Jordan Grosso (s)                Jorge L. Muniz
                    - ~da S. Ash (s)**                      Corene D. Gutzmann***                 Josephine Muro
                     ~ h Martin Bahm                        Kelly Dawn Hanson (s)                 Mary Prendergast Neubauer
                   :Jeborah Bates***                        Dorel Dawn Hatke                      Roger O'Connor
                    -1:arles F. Behrmann (s)                Anne S. Hessler                       Anthony Papadopoulos
                       aindel Belizaire                     Betty L. Holloway                     Jennifer Beth Passaro
                    • ence Kaprie Brooks (s)                Barbara J . Hotko***                  Cecelia T. Perciballi
                   ~         th Jean Burke*                 Maria Marino Jackson***               Jan Perry.Pessolano
                            d P. Cenno                      Alia Jebara (s)                       Annmarie M. Petrone
                     &:hael Jae Hun Chung                   James Peete Jones, Jr. (s)            Diana Schraff-Sullivan
                     ~     erine F. Connolly (s)***         Jean Kalemba***                       Marie Bruno Schraff*
                     !xhael A. Coughlin (s)                 Kyung Soon Lee*                       Laurie A. Scofield*
                      -ette Crawley                         Leonie Elaine Lewis                   Tony Shakkour (s)*
                   .i.zfael E. Dagnino                      Rhonda Marie Lincoln                  Mary Ellen Shea**
                   _Jean Anthony DeFilippo**                Bernadette Mary Lipkus*               Rosanne A. Stewatt**
                         ·aa DeMoura**                      Edward John Lipkus III**              Barbara E. Stott (s)
                            e Descher***                    Kathleen Lorusso**                    Kathleen Mary Sweitzer**
                            e Mitchell Dugle**              Alejandro Chapatto Lugo (s)           June Smack Tepper (s)*
                    :muile Lucille Dullaghan (s)            David Luongo (s)                      Deborah Lynn Uhl
                    - • et A. Evans                         Theresa S. Macmurdo                   MaryAnne R. Volkmann
                     ::dith M. Forgione*                    Diana Mahaffey                        Bonnie Ward-Hillen**
                    :.::ronio Gary (s)                      Joan Pulen Manson                     Patricia H. Willemsen
                           h Anthony Gerber                 Cheryl A. Mattera*                    Margaret B. Wingle*
                                                            Elizabeth Lanza Mauncele              Rosemarie C. Winrow
                                                         Bachelor of Social Work
                                                                      Amy Hemeleski

                                                               Master of Science
                                                                 Hattiet Renee Coleman
                                                                   Rosemarie Dunado
                                                                    Elizabeth Giannisis
mas (s)                                                           Letitia •Ann Kneipher
                                                                  Debra Yvette Mallory
                                                                       Ivelyese Pillot
                                                               Constance E. Reynolds-Miller
                                                                    David A. Smelson
                                                                  Barbara Coady Teresi
                                                                  Karen Denise Thomas

                              Summa Cum Laude
                              Magna Cum Laude
                              Cum Laude
                              Students Completing Degree Requirements in Summer, 1990



                                                                                                                   People• 35
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                        1990 Graduation
                        Commencement




,     36 • People


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                                                                      People• 39
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                                             UPSALA COLLEGE
                                              EAST ORANGE, N.J. 07019

    March 6, 1986


    I have the pleasure of informing you that the admissions committee has approved your application to -
    baccalaureate program at Upsala College beginning Autumn 1986. Your admission is granted on the strength of yak
    academic record to date, and is contingent upon your final senior grades being satisfactory. Please arrange to ha
    your official, final transcript sent to this office as soon as it is available.

    It is necessary that I advise you at this time about Upsala's matriculation fee, which you may rmember was describ
    in the instructions that accompanied your application. Please complete the enclosed card and return it with a che-
    or money order for $100 by May 1, 1986. Although the matriculation fee is nonrefundable prior to your fi _
    enrollment at Upsala, you can qualify subsequently either for credit to your Upsala account if you remain throu-
    graduation, or refund if you should withdraw from the college before graduation.

    In the weeks ahead you will recieve communications concerning your enrollemtn at Upsala. Your cooperation
    responding promptly to any requests will be greatly appreciated.

    I am excited for you at the possibility that Upsala may help to shape your future. I hope that you are too. If I ma_
    of further assistance, please do not hesitate to call me at (201) 266-7191.

    Sincerely,

    ~ J1lutw
    Phyllis T. Walker

    Director of Admissions
    PTW:sd
    Enclosure




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                        Qllpon the recommenbation of the ]i'acult~ ctnb
                                                     the Dloarb of ©rustees
                                                      herehv confers uuon



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                  htith all the rights ctnb pribileges thereto ctppertaining.
                  ] n testimon~ ht hereof hte hctbe ctffixeb our signcttures
              at <fiast @range. New JJerse~. this sixth i'.la~ of ]Ila~. 1990.

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    In Memory of Prof. Bob Brow
     professor Robert Burr Brown, a teacher of Spanish at
     Upsala since 1967 and a former chairperson of the
     Foreign Language Department, died on April 11,
     1990 at the age of 57 after a short illness.
         Professor Brown, "Bob" to his colleagues and
     friends, was a poet and a scholar. He was as devoted
     to music as he was to literature and the arts. His
     encyclopedic grasp of the culture of Western
     civilization, especially of the Iberian world, was
     remarkable. He had traveled widely in Spain,
     Portugal, France, and North Africa.
        In 1973, Professor Brown received the Lindback
     Foundation Award for Distinguished Teaching.
        Professor Brown graduated from Case-Western
     Reserve University in 1954 with a B.A. in Spanish.
     He received his M.A. in Spanish from the State
     University of Iowa and his Ph.D. from New York
     University in 1967 after additional postgraduate study in Portugal.
        A man of unusually great height, "Bob" Brown was a warm, gentle, good-humo
     deeply civilized person who took his morning coffee with students and other College
     colleagues nearly every day. Large numbers of his friends attended him during the las.:
     weeks of his illness. They and many more were present for a memorial service held ·-
     Christ Chapel on April 18.




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                epartment Chairs




                                                       Jim Lovell
                                                       Humanities




                                                      David Murray
                                                        Library

 unc Brown               David F. Barry
  Sciences               Social Sciences




                                                                     People• 43
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                Dennis Kelly                         James Michael                          Bill Olson
                  Business                              Business                  Multi-National Corporate




           ,I        l..t
                Robert Seccia
                                     ~
                                                    Manijeh Zavareei
                   Business                   Multi-National Corporate Studies




                Roger Boraas                         William Deguire                      Warren Funi.
           Religion and Philosophy                         Music                           Philosophy




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             Steve Krinsky             Bob Marcazzo                David Milgrome
             Communications               Theater                    Art History




llett
             Louise Simons               Jim Stam                  Carol Thorburn
                 English                 Philosophy                     Spanish




           Ellen von Nardroff            Hyo Yoo                    Yoshiko Ishii
                German                   Fine Arts                      Librarian



                                                                                    People• 45
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               ,.Y"- ;:JJ,~•
               ·, ~t;; /7
                Ann Oster               Elizabeth Rumics                   Ruth Shoge
                 Librarian                   Librarian                      Librarian




                                                                 I
                                                                 ,
              Isabelle W oiler             Sook Choi                     Alan Maccarone
                  Librarian                 Biology                          Biology




               Joseph Most               Robert Reed                       John Snygg
                 Chemistry               Mathematics                       Mathematics



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             Jackie Willis             Bassam Abed                 Roy Domenico
                Biology                Anthropology                     History




                               J

cOD.e         Fred Hahn                Ken Johnson                  Ali Kamali
               Education                Psychology                      Sociology




             Pichon Loh                James McRoy                  Art Paulson
             Asian History              Psychology                 Political Science




                                                                                       People• 47
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                Kendy Rudy                  Mary Swigonski                    Paul Brecht
                Anthropology                  Social Work                    Business Office




            Selma Brookman                    Bill Foster
                                                                        Pastor George Freyb
           Continuing Education           Alumni Fund Raising




                Pearl Gorsky                Diane Johnson                     Anita Leake
           Continuing Education                Registrar                      Cashiers Office




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  Denise Martin              Moses Matai              Barbara Melchione
    Registrar                Library Staff              Learning Center




   Henry Ng                  Rose Pappas                 Kristin Persson
  Business Office            Library Staff              Public Information


          •




 Charles Principe            Vivian Quinn                 Jack Sutton
 Director of Security            Nurse                    Financial Aide




                                                                             People• 49
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                 Elly Will                   Mike Walsh                           George Lynes
               Financial Aide             Director of Athletics               Director of Admissions




            Alexandra Todd
           Admissions Counselor




                                             Maggie Hoyer, Michael Freyberger, Felicia Moore,
                                                            Admissions Staff




        Our apologies to the members of the facuity and staff not picture




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                                                                   People• 51
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                 Life is my college. May I
               graduate well, and earn some
               honor.
                                     -   Louisa May Alcott




             STUDENT LIFE

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                                         SGA




                                                                ,



                      Executive Board:                                Pro ramm:::
       Danielle Washington         Secretary
                                                                       Assistan
       -   SGA President           Jon-Erik Wyse -    Student         Desiree Howarc.
       Sophia Merunka -    Vice    Liaison                            William Judge
       President                   Sue Bower - P.P.C.                 Advisor:
       Sandra Julien -             Matt Podracky - E.P.C.             Joanne Denni.so::.
       Attorney General            Jon Lonsiak - Treasurer
       Gina Diamond -




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                                           IFC/ISC
                                          lntersorority Council
            The Intersorority Council regulates sorority activities and organizes rushing procedures. In addition, it
            • es to foster a feeling of mutual regard and cooperation among all the sororities. This year the Council
          _ nsored the annual ISC Ice-Cream Bash, the Tree Lighting Ceremony and the ISC tea which signifies the
         ::x:ginning of the Rushing Season.




                                                                                 lntersorority
                                                                                Council Officers:
                                                                             President: Lee Ann Burns
                                                                             Vice-President: Michele Wickel
                                                                             Secretary: Maureen Finnerty
                                                                             Treasurer: Carrieanne Banacki
                                                                             Publicity: Gina Diamond
gg


                                        lnterfraternity Council
              Every fraternity on the Upsala campus is represented on the Interfraternity Council. The Council
               • tains certain rushing standards, synchronizes social events, and generally encourages a spirit of
         .:::::operation among the members of the various fraternities. It also sponsors an Interfraternity Smoker to
         ~          t the non-Greeks with fraternity members.




                                                                                                     Student Life • 55

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          Gamma Sigma Sigma



         Gamma Sigma Sigma Incorporated is a National Service Sorority.
      Mu Chapter was originally established at Upsala College in 1955       Officers:
      and reactivated in 1983. The goals of the members all across the
                                                                            President: Evelyn Leadbeater
      countty are to participate in an organization that helps people and   Service Vice Pres.: Lisa Doctor
      provides service to both the college campus and community.            Membership Vice Pres.: Michad
      ma Sigma Sigma Inc. accepts all people from all races and back-       O'Callaghan
      grounds. Our sorority colors are maroon and white, and we promote     Treasurer: Brenda Crespo
      friendship, service and equality. We are also vety proud to be        Secretary: Maureen Finnerty
                                                                            Advisor: Lisa Smith
      Upsala's only National Service Sorority.




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                             Tau Beta Sigma




                    Tau Beta Sigma, the. second oldest sorority on campus, was founded in 1929 to pro
                 friendship and goodwill and to lend support to activities and interests of the college. The T
                 sponsor such projects as candy sales and bake sales throughout the year. The Taus are vety p
                 of their scholastic achievements and look forward to many special activities.




            Officers
            President: Charis Adami
            Treasurer: Rachel Goldman
            Corr. Secretary: Gina Diamond
            Rec. Secretary: Stephanie Holzer




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                                        Members
                                        J anien Barrios
                                        Gina Cardinali
                                        Jackie Dowling
                                        Carol Laginha
                                        Shirley Lee
                                        Michelle Martinez
                                        Sandra Mesias
                                        America Molina
                                        Christie Moraites
                                        Mylene Pacquing
                                        Deanna Reavie
                                        Jennifer Schoenek
                                        Barbara Stott
                                        Michele Wickel
                                        Lori Vogel




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                Theta Beta Gamma



                                                                                   Members:
             Theta Beta Gamma, established in 1918, is the oldest sorority on
                                                                                   Annette Arocho
          campus. The sorority stresses the individuality of each sister who is
                                                                                   Carrieann Banacki
          united by a common love, concern and resped:for her friends. Active in
                                                                                   Lee Ann Burns
          many campus activities and organizations, the Thetas are proud of
                                                                                   Carla Carter
          their name and of their solid record of participation and achievement.
                                                                                   Jennifer Heller
          Throughout the year, projects are sponsored by the Thetas. Theta Beta
                                                                                   Suzanne Klie
          Gamma holds an annual formal in honor of the new sisters, bake sales
                                                                                   Maryann Kudlacik
          and hot dog sales, Send-A-Friend-A-Flower Sale, annual Beer-B-Que
                                                                                   Marina Logerie
          in the summer and various social activities both on and off campus.
                                                                                   Traci Ramos
          The Thetas are easily spotted on campus because ... "they've got
                                                                                   Leslie Unger
          Theta class and they've got Theta style."
                                                                                   Danielle Washington
                                                                                   Advisor: Patty Ann Thomas


       Officers:
       President: Maribel Cortez
       Rec. Secretary: Judy Bromirski
       Treasurer: Sophia Merunka
       Corr. Secretary: Fran Ferrer




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                          Camel Drivers



                                                           Members:
                                                           Sonya Ristau, Jae Mundy, Gordon Astwooc.
                                                           Bill Conrad, Tony Traversi, Jose Rodriguez.
                                                           Emmanuel Muremi, Norichika Kishi, Selan.
                                                           Tomako, Eumyong Moon, Jon Erik Wyse,
                                                           Brian Andrake, Gary Shanheit, Dawn
                                                           Hamilton, Marilyn Maar, Miriam Maar,
                                                           Sakaria "socks", Glenn MacAfee, Missy Ki.::;
                                                           Tracy King, Kathy Carson.




      Officers:
      President - Susan Bower
      V. President - Carol Schnabel
      Treasurer - David Gorman
      Sergeant-at-Arms - Matthew
      Podracky
      Secretary - Elsabe N el
      IFC - Joan Dolder




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                             Rho Alpha Phi




                                                                               Officers:
                                                                              President: Kevin Egan
                 Established in 1937 and re-established in 1984 Rho
                                                                              Vice-Pres.: Rick Hauser
              Alpha Phi Fraternity continues their tradition, stressing
                                                                              Treasurer: Bill Judge
              the importance of brotherhood and success in academics
                                                                              Secretary: Jason Spages
              as well as athletics. Our colors are silver and black.
                                                                              Sergeant at Arms: Mike Surowo::
                                                                              Historical Secretary: Jon R.orucie::a:::;:-
                                                                              Social Director: Steve Grello




         Members:
         Matt Ahne
         John Beck
         Carlo Caparuva
         Tom Colavito
         Tommy Devaney
         Frank Dorfman
         Jim Fosbre
         Lou Gagliardo
         Chris Hamler
         Gerry Krivda
         Mike Mischler
         Greg Stevens




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             Theta Epsilon Omicron
                      Iota



                                                                                                       OFFICERS:
             The fraternities of Upsala are one of the most integral parts of the social life at the
          college. Without them life could barely be detected at all. Friendship and fun is            Zeus: Willard Taylor
          what we have to offer the Upsala Community. Theta Epsilon Omicron Iota,                      President: Steve Leyendecke:
      '   established in 1899, is a closely knit group of friends, but to call ourselves brothers      Vice Pres.: Matt Gegenfura:e-
          as we do probably describes the situation better. We as members can depend on any                        Peter Lutot
      1   one of our brothers at any time for all the help we need. We .!11"e proud today to .be       Treasurer: Craig Cheetham
      '   GODs.                                                                                        Rec. Sec.: Rolf Figdore
             Our fraternity · is rich in tradition and histoty being the oldest established            Corr. Sec.: Pete Johnson
          fraternity in i:he school. We know that we will perpetuate and strengthen these              Sergeant at Arms: Andrew
      1   traditions.                                                                                                           Bra
                                                                                                       Chaplain: Matt Greene




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             Theta Alpha Sigma



                                                                  Members:

                                                                 Marcey Fordney
           The Theta Alpha Sigma is a co-ed fraternity founded   Robin Poner
        in the Spri1J8 of 1987. Its P,µtp:Q                      Doug Potts
                     f cite Upsala Campus wi                     Steve Rallis
                           become a more ac:cive part of         Ana Tome
                                                                 Lori Cameron
                                                                 Joe Molinaro
                                                                 Jose Leites
                                                                 Marlene Gutierrez




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                         Alpha Phi Delta

             Alpha Phi Delta Sorority was founded at Upsala by seven girls in
          1935. Our main purpose is to foster friendship and to promote
          individualism among the sisters. Along with this is the traditional
          Alphie enthusiasm for getting involved in campus activities and
          having a good time. Throughout the year we sponsor various
          activities.

                                                                                                       Current Members:
                                                                                                       Debbie McCoy
                                                                                                       Elizabeth Golden
                                                                                                       Natalie Greer




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              Alpha Kappa Psi
                                                                              Officers:
                                                                              President: Kassie Niece
                                                                              Vice Pres. (Int.); Bill Judge
    Alpha Kappa Psi, a National Business Fraternity, was formed in            Vice Pres. (Ext.): Joan Dolder
    04. Upsala's Epsilon chapter ofAlpha Kappa Psi was reactivated            Treasurer: Sonya Ristau
                                                                              Rec. Secretary: Brian J oho
    1974, after being dormant for a number of years.                          Corr. Secretary: Janien Barrios
    As a professional fraternity, the objectives of Alpha Kappa Psi are:      Master of Ritual: Sue Bower
=.:rther the welfare of its members; promote research in the fields of        Public Relations: Henrietta Smith
                                                                              Historian: Tony Traversi
       erce, accounting and finance; educate to appreciate and de-
                                                                              Alumni Secretary: Henrieta Smith
     d higher id,eal therein; and to promote and advance the in-              Chaplain: Joan Dolder
     tions leading to degrees in business administration.                     Warden: J anien Barrios


                                                                              Members:
                                                                              Carla Carter
                                                                              Tom Curran
                                                                              Darren Gray
                                                                              Gary Haith
                                                                              Michelle Martinez
                                                                              America Molina
                                                                              Leon Taylor
                                                                              Sutanah Whitfield




                                                                                                  Student Life • 71
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 ALPHA
 ANGELS




                              Psychology Club
         The Psychology Club keeps an active interest in many different and varied aspects of Psychology. C
      activities serve to broaden the scope of the students' acquaintance with the field of Psychology.




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                             PRE-LAW CLUB

           -   T   •   Cameron
llhi-=.i:= - Joseph Molinaro
           - :1furlene Gutirrez
.....,__    _ iman:e Cardoso




                   Political Science Club
       The Political Science Club is concerned in generating interest and activity
    among the students concerning political events which affects us nationally and
    internationally. Its activities include speakers, films and trips.




                                                                             Student Life • 73
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            Black Student Union




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                         Beta Beta Beta

             Beta Beta Beta is a National Biological Honor Society to which students are elected by virtue
          of commendable attainment in Biological Sciences. The purpose of the Tri-Beta is to promote
          scholatsbip and interest in Biology. This goal is attained in the Theta Nu Qlapter through the
          formation of several active sub-committees.




         LATIN
        AMERICAN
          CLUB




                                                                                                Student Life• 75


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                                                 Choir




                  Choir Director:
                  Johnetta Nelson




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                                  WFMU
            the Upsala radio station, operates at 1000 watts and reaches a good
metropolitan area. In addition to maintaining its reputation as a fine pro
years WFMU has instituted more ~ucational and public affairs progr
       the dial.




                                                                                    Student Life • 77
                                               I ,
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                      Workshop 90




    Actors:
    Charis Adami              Karhinda Jones
    Octavius Brooks           Niesha Lewis
    Kathleen Carson           Jose Ortiz
    Monique Davis             Jennifer Schoenek
    Michael Janish            Wayne Smith




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                             Upsala College




            To 13e l'OUIIQ,
          f7ifted and 131ack
                 A Portrait of Lorraine Hansberry
                        In Her Own Words
                                  ❖❖❖

                               Adapted by
                             ROBERT NEMIROFF

                   October 10, 11, 12, 13 and 14
                   Directed by ROBERT MARCAZZO




                                                                  Student Life • 79
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                             GAZETTE




                           GAZETTE STAFF
                     Michael S. O'Callaghan ...... Editor-in-Chief
                     Ami-Joy Freyberger ......... Photography Editor
                     James Lovell . . . . . . . . . . . ... Advisor
                     Steve Krinsky ............. Editorial Consultant
                     Maggie Hoyer . . . . . . . ...... Layout Consultant
                     Sophia Merunka ........... Greekbeat
                     Jennifer Heller . . . . . . . . . . . .. Typist




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    Since 1905 the Upsala Gazette has been covering a      O'Callaghan, the Gazette was able to put together well
  :de variety of local and campus issues for the Upsala    organized issues, with sections such as Local News,
...ommunity. This year, although there was a small         Classified, Entertainment/Reviews, and Clubs and
-aff, the Gazette was able to wipe away the poor           Organizations. For the Fall Semester Kathleen Carson
    utation of recent years, by publishing regular, sol-   contributed her skill by writing several major stories
    y written issues. Under the editorship of Michael S.   per issue.




                                                                             Staff·
                                                                             Charles Behrmann
                                                                             Harriet Berger
                                                                             Brenda Crespo
                                                                             Alice Cronin
                                                                             Tom Harvey
                                                                           , Sophia Merunka
                                                                             Andrew Silikovitz
                                                                             Mim W eisburd




                                                                                                  Student Life • 81
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                                  UPSALITE

         The creation of a yearbook is a task that requires boundless energy, limitless patience, and a soun
      nervous system that is capable of providing even more energy to manage the thousands of details and the
      monotony of laborous routine. Many innovations have created interest in producing a book that will be
      read and treasured for years. The staff and its editor sincerely hope that the 1990 Upsalite has succeeded c.
      capturing the intangible memories that from the basis of our college existence and that, through thee
      efforts, you will relive the events of the past.




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the:




          psalite Staff:
           •ror-in-Chief: Kirsten Sejda
            • tant Editor: Jen Heller
                                                            Many thanks to the students, staff, and faculty who
             tographers: Ami-Joy Freyberger
                          Bobby Jean Smith               made our job easier. Especially: Bill Foster, Joanne
       .llembers: Fran Ferrar                            Dennison, and Kristin Persson. Cover design and
                    Maribel Cortez                       artwork accredited to Orlando Laguardo.
                    Christine Murray
                    Brenda Crespo
       .!dvisor: Kristin Persson




                                                                                           Student Life• 83
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                                 FOCI
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                                         David M. Macheska, Editor
                                         Debbie McCoy, Assistant Editor
                                         Kyung-Soon Lee, Art Editor
                                         Tony Traversi, Publicity
                                         Staff: Alice Cronin, Beth Marcazzo, Juliet
                                                Marcazzo, Sophia Merunka, Ken Roberts,
                                                Gary Shanheit, Mim W eisburd


                             ........•
                                  •1
                                    I    Advisor: Dr. Louise Simons, with a vety special
                                                    thanks to Professor Steve Krinsky and
                                                    Amy Hemeleski



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                          I am only an average man
                       but, by George, I work harder
                       at it than the average man.
                                           -   Theodore Roosevelt




                      SPORTS
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                                1989 Football
    Viking's Roster:

      11    Travis Enix
      12    Benny Gain
      13    Phil Volpe
      15    Mike Wilson
      17    Ed Lawson
      22    Kevin Egan
      23    Gary Walker
      24    Mike Mischler
      25   Jeff Moreno
      26    Troy Johnson
      29    Lou Gagliardo
      30    Steve Grello
      31   Joe W olfersberger
      36    Ashley Stayskal
      37    Scott Cherven
      39    Armstrong Mercyl
      40    Manny Mercis
      43    Wayne Matthews
      44    Dorien Hogan
      46    Richard Byrd
      47    Nick Salerno
      48   Jon Ronneberg
      50    Marc Frigola
      53    Brad Fulmer
      54    Anderson Adams
      56    Chris Wilson
      60   .Carlo Caparruva
      61    Mike Ryan
      63    Kyle Coursey
      64    Gerry Krivda
      67   Joe Ayles
      68    Brandon Kaboski
      72    William Aneses
      75    Glen Fleming
      78    Russell Jackson
      82    Keith Scott
      84    Ray Johnson
      89    Bill Judge
      90    Thomas Odom
      92   James Wynn
      93    Scott Young




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                                1989 Football
                                  Schedule
=>ate                Opponent                                               Place
 /8                  Trenton                                                Away
 /1 6                Kean                                                   Home
 / 23                Montclair                                              Away
 / 30                Jersey City                                            Away
- /7                 William Paterson                                       Home
                     (Homecoming)
-0/14                Moravian                                               Away
 0/21                Glassboro                                              Home
_0/27                FDU-Madison                                            Away
~1/4                 Ramapo                                                 Home
_l/11                Kings Point                                            Away


                                                                           Sports• 89
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                               Cheerleaders




          Fall
       Cheerleaders
    Sophia Merunka - Captain
    Carrie Banacki - Co-Captain
    Danielle Washington - Co-Captain
    Gina Diamond
    Lisa Franklin
    Nyia Harris
    Carolyn Pellett
    Melissa Grant




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            MEN'S BASKETBAL




      Men's Basketball 1989-90
      Game Schedule:                                                                                    Jan. 10   Dominican College
                                                                                                        Jan. 13   S.E. Massachusetts
      Nov. 16     Upsala Alumni Game                                                                    Jan. 17   Lehman College
      Nov. 21     St. Thomas Aquinas                                                                    Jan. 18   C. W. Post
      Nov. 30     Centenary                                                                             Jan. 20   Stony Brook
      Dec. 2      Manhattansville                                                                       Jan. 23   College of Staten Island
      Dec. 8      Salisbury State Tournament                                                            Jan. 25   Mt. St. Mary's
      Dec. 9      (North Carolina, Weslyan, S. State, Upsala)                                           Jan. 27   Catholic University
      Dec. 13     York College                                                                          Jan. 29   Ramapo College
      Dec. 16     Scranton Tournament                                                                   Feb. 1    FDU Madison
      Dec. 17     (Scranton, John Carroll, Buffalo State, Upsala)                                       Feb. 3    Merchant Marine Academy
      Jan. 3      Elmira College                                                                        Feb. 5    Kean College
      Jan. 5      Kean Tournament                                                                       Feb. 17   Bloomfield College
      Jan. 6      (Drew, Bloomfield, Kean, Upsala)                                                      Feb. 27   SUNY (Old Westbury)




92 • Sports

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           1989-90 Roster
::ank Prather #5           Fred Drains #25
:om Seeger #11             Ray Johnson #30
:?erry Coursey # 12        Ted Sochaski #33
_·are Moore #13            Conrad Eaddy #35
 • Freeman #14             Yael Martinez #32
~ ve Lewis #20             Terence Brown
- yler Brown #21           Spencer Ragland
     k Wilborn #24


                                                                             Sports• 93
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                Women's Basketball




            Women's Basketball Team 1989-90
    Top: front, left to right: Gloria Hodges, Sue Cackowski, Jennifer Blue, Tara Gubitoso, Margaret
    McCargo. middle: Rosalyn Goodwater, Jamie Sargeant, Sherise Martin, Shad Varasteh, Lisa Doctor. rear:
    Coach Barry Wolfson, Lisa Moore, Teshima Daye, Elena Kiafas, Asst. Coach Bill McGrady.




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                                    Women's Game Schedule
                                   Women's
                                   Game
                                   Schedule:
                                   Nov. 17     Shenandoah Tournament
                                   Nov. 21     College of New Rochelle
                                   Nov. 28     Delaware Valley
                                   Nov. 30     Caldwell College
                                   Dec. 5      St. Elizabeth
                                   Dec. 8-9    Upsala Tournament
                                   Dec. 13     Jersey City State
                                   Jan. 6      Neumann College
                                   Jan. 8      Staten Island
                                   Jan. 11     Scranton
                                   Jan. 15     NJIT
                                  "Jan. 17     Scranton
                                   Jan. 20     Drew
                                   Jan. 22     St. Elizabeth
                                   Jan. 25     FDU Madison
                                   Jan. 27     King's
                                   Jan. 31     Drew
                                   Feb. 3      Goucher
                                   Feb. 7      Vassar
                                   Feb. 10     FDU/Madison
                                   Feb. 12     Delaware Valley
                                   Feb. 15     King's
                                   Feb. 17     NJIT
                                   Feb. 20     Rutgers, Newark




                                                                            Sports• 95
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                                                                        Soccer




                                                                    Soccer Roster
                                               1. Kelly Pierre *                       10. Roland Salmon
                                               2. Jude De Ronceray                     11. Reginald Surpris
                                               3. Gus Stifano                          12. Mete Gursey *
                                               4. Pete Lubretch                        13. Peter Deheng
                                               5. Darryl Markowski                     14. N orichika Kishi
                                               6. Greg Straub                          15. Castel Dorcely
                                               7. John Erik                            16. Eddy Joseph
                                               8. Diego Sanshez                        17. Franz Jn. Louis
                                               9. Donovan Greaves *




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                                1989 Soccer Schedule
                             9/13    Pace University                     Away
                             9/16    Wilkes College                      Home
                             9/20    Drew University*                    Away
                             9/23    St. Peter's College                 Away
                             9/25    Staten Island College               Away
                             9/30    State Univ. of New York,            Home
                                     Old Westbury
                             10/4    Manhattanville                      Away
                             10/7    Baruch College                      Home
                             10/9    Bloomfield College                  Away
                             10/11   Delaware Valley*                    Home
                             10/14   Univ. of Scranton*                  Home
                             10/18   Rutgers Univ. (Newark)              Away
                             10/20   Kings College, Pa.*                 Away
                             10/23   York College                        Home
                             10/28   Fairleigh Dickinson (Madison)*      Away
                             11/4    Ramapo College                      Home




                                                                         Sports• 97
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                                      Baseball




                              1990 Baseball Schedule
    Mar. 10-   Florida Trip                         Apr. 18   New Jersey Tech
    18                                              Apr. 19   Bloomfield
    Mar. 14    Yale                       Florida   Apr. 21   Delaware Valley (2) (MAC)
    Mar. 24    Tufts (2)                  Home      Apr. 22   St. Thomas Aquinas
    Mar. 25    Tufts                      Home      Apr. 23   Bloomfield
    Mar. 28    Jersey City State          Away      Apr. 24   William Paterson
    Mar. 31    Scranton (2) (MAC)         Away      Apr. 25   Montclair State
    Apr. 1     Trenton State              Home      Apr. 27   Lehigh
    Apr. 3     Wilmington (Del.)          Away      Apr. 28   King's (2) (MAC)
    Apr. 4     Rutgers-Newark             Away      Apr. 29   Rutgers
    Apr. 7     Drew (2) (MAC)             Away      May 1     Ramapo
    Apr. 8     Staten Island              Home      May 2     Kean
    Apr. 10    Albright                   Away      May 3     Seton Hall
    Apr. 11    Manhattanville             Away      May 5     Middle Atlantic Conference
    Apr. 14    FDU-Madison (2, MAC)       Home                PLAYOFFS at Reading, PA




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                                                                                         --
                                                             1990 Baseball
                                                                Roster
                                                     Luis DeLaCruz                 #9
                                                     Jose Dejesus                  #14
                                                     Fred Drains                   #25
                                                     Edgar Feliciano               #6
                                                     Fred Fossett                  #17
                                                     Rick Hauser                   #42
                                                     Paul lantosca                 #19

·:~
  l(, l _!· ·                                        Bill Judge
                                                     Mark Shipley
                                                     Bob Weiss
                                                                                   #8
                                                                                   #18
                                                                                   #36
  *   "   ,   lll,& ~
                              Co
                                                     Travis Enix                   #11
                        ""'        ~""'              Steve Trombley                #28
                                                     Yusef Joyner                  #5
                                                     Gerard Sachewicz              #22
                                                     Angel Zayas                   #15




                                                                                    Sports• 99
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                     Women's Softball




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                                                                          SOFTBALL
                                                                           ROSTER
                                                                     16   Sue Cackowski
                                                                          Monique Davis
                                                                     36   Pam Davis
                                                                     12   Sabrina Floyd
                                                                      4   Ana Garcia
                                                                      3   Tara Gubitoso
                                                                     13   Karhonda Jones
                                                                     34   Elena Kaiafas
                                                                     11   Margaret McCargo
                                                                     21   Sophia Merunka
                                                                     15   Lizette Rivera
                                                                     24   Jamie Sargeant
                                                                     33   Holly Trause
                                                                     14   Maria Vega
                                                                     10   Connie Wilson




 1990 UPSALA COLLEGE SOFTBALL SCHEDULE
=>are       Opponent                    Site   Apr. 10   St. Peter's                              Away
:Mar. 21    Mt. St. Mary                Home   Apr. 11   Manhattan                                Away
:Mar. 26    Ramapo (2)                  Home   Apr. 12   Drew                                     Away
:Mar. 27    Delaware Valley (2)         Home   Apr. 23   Bloomfield                               Home
Mar. 29     St. Elizabeth (2)           Home   Apr. 25   Jersey City State                        Away
~far. 31    New Jersey Tech (2)         Away   Apr. 26   Dominican                                Home
Apr. 2      Caldwell                    Away   Apr. 28   Centenary (2)                            Away
Apr. 4      New Rochelle                Home   Apr. 29   New Jersey Nine Tournament at Caldwell
Apr. 5      FDU-Madison (2)             Away   Apr. 30   Dowling                                  Away
Apr. 7      King's (2)                  Home   May 2     Rutgers-Newark                           Away
Apr. 9      Scranton (2)                Away




                                                                                             Sports• 101
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             Women's Volleyball




                                  1989 Volleyball Schedule
   Sept. 12 Bloomfield College W, 15-9, 15-10, 15-8
   Sept. 14 (H) Jersey City W, 15-3, 15-4; Peter's L, 8-15, 6-15
   Sept. 18 King's W, 15-11, 15-12, 15-6
   Sept. 18 Wilkes W, 15-5, 15-9, 15-2
   Sept. 20 Stevens Tech W, 14-16, 17-15, 16-14, 15-4
   Sept. 22 St. Elizabeth W, 15-11, 16-14, 15-7
   Sept. 22-23 Elizabethtown Tournament:
   Susquehanna L, 5-15, 6-15; Franklin and Marshall, L, 15-10, 0-15, 12-15; Moravian, L, 8-15, 4-15; Scranton, L, 11-15, 6- -
   Sept. 25 Stockton State L, 13-15, 14-16, 15-13, 15-11, 8-15
   Sept. 27 (H) College of Staten Island W, 15-10, 15-4, 15-9.
   Sept. 30 NJ Tech Tourn.:
   Jersey City State, W, 15-2, 15-5; Stevens Tech, W, 15-6, 15-5; Hunter, L, 13-15 , 4-15; Rutgers, Newark, L, 13-15, 12-15.




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                                                                          Volleyball Team,
                                                                                         1989
                                                                     Julie Acevedo # 10
                                                                     Myra Brignoni #8
                                                                     Altagracia Ceballos # 1
                                                                     Sarah de los Santos #6
                                                                     Ana Garcia #4 (C)
                                                                     Carol Laginha #12 (C)
                                                                     Yolanda Litwinko #9
                                                                     Katherine Lugo # 11
                                                                     Yocasta Mata #2
                                                                     Lizette Rivera #15
                                                                     Gina Rodgers # 14
                                                                      Nicole Williams #7




                                        Schedule Con't.
:let. 5 (H) Albright, L, 10-15, 12-15; Mulhenberg, W, 15-12, 15-5.
Jct. 6-7 Gettysburg Tourn.; Gettysburg, L, 0-15, 0-15; High Point, L, 1-15, 11-15; High Point, W, 15-6, 16-14 .
     . 10 Scranton, L, 5-15 , 7-15, 15-13, 10-15.
3a:. 16 (H) Delaware Valley, W, 15-8, 13-15, 15-7, 15-1.
     . 17 (H) Caldwell College, W, 15-5 , 16-14, 15-6 .
     . 19 (H) Ramapo, W, 9-15, 15-7, 13-15, 15-7, 15-1.
~- 20-21 Upsala Tournament at Upsala
W, Jersey City State, 15-7, 15-11, 15-4.
   , Montclair State, 15-8, 14-16, 15-9, 2-15.
Oa. 23 New Jersey Tech, W, 15-10, 15-10, 15-7.
Oct. 26 (H) Kean College, L, 11-15, 15-4, 15-6, 6-15, 9-15.
Oct. 27 Centenary, W, 15-10, 15-10, 15-7.
Oct. 28 Johns Hopkins, L, 9-15, 11-15, 15-4, 15-6, 6-15, 9-15.
Nov. 3-4 MAC Tourn. at Haverford College: Susquehanna, L, 5-15, 3-15; Elizabethtown, L, 3-15, 5-15; Widener, L, 8-15,
10-15; Western Maryland, L, 2-15, 4-15 .

                                                                                                             Sports• 103
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                      1990 Men's Tennis
             1990 Men's Tennis Results                                             1990 Roster
      Date     Site    Result     Opponent           Overall     MAC        Chuck Behrmann
      3/27             L, 3-4     Jersey City St.    0-1                    Jim Choi
                       L, 3-6                                               Jay Cooperman
      3/29     Home               Stevens Tech       0-2
                                                                            Jim Gaffney
                       L, 3-6     Scranton           0-3         0-1        Steve Jones
                       L, 2-5     FDU-Madison        0-4         0-2        Tom Marchetti
                       L, 0-9     Rider              0-5         0-2        Wayne Smith
                       L, 0-9     Kean               0-6         0-2        Will Walton
                       L, 0-9     Drew               0-7         0-3        Coach: Faith Garcia
      4/19     Away    W, 7-2     John Jay           1-7
      4/26     Away    L, 2-7     Montclair St.      1-8




              1990 UPSALA GOLF
             Date
                  SCHEDULEDay           Opponent                        Site                  Time

             Apr. 6       Fri.          Wesley, Marymount, and          Wesley                1:00 p.m.
                                        Spring Garden
             Apr. 12      Thur.         Wilkes and Moravian             Wilkes                1:00 p .m.
             Apr. 17      Tues.         Delaware Valley                 Del. Val.             1:00 p.m.
             Apr. 18      Wed.          Monmouth                        Monmouth              1:00 p.m.
             Apr. 19      Thur.         Stevens Tech and                Home                  1:00 p.m.
                                        Montclair State
             Apr. 23      Mon.          Wagner                          Wagner                1:00 p.
             Apr. 26      Thur.         FDU-Madison and
                                        New York Tech                   Home                  1:00 p.m_

             COACH: Vince Capraro




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Upsala Directory
PRESIDENT                                    Dr. Robert E. Karsten
                                             Augustana, '5 2

ATHLETIC DIRECTOR:                           Mike Walsh
                                             Central Conn. St., '77

ASSISTANT ATHLETIC DIRECTOR:                 Kevin Flanagan
                                             Wagner, '84

WOMEN'S ATHLETIC                             Eileen Shafer
COORDINATOR:                                 Montclair State, '80

SPORTS INFORMATION                           George Alfano
DIRECTOR:                                    Edison State, '84
                                             Office Telephone 201-266-7164
                                             Home Telephone 201-762-5248

TRAINER:                                     Dan Rogers

COLORS:                                      Blue and Gray

NICKNAME:                                    Vikings

                     SPRING SPORTS COACHES
BASEBALL:                                    Ed Lyons
                                             Temple, '50

ASSISTANTS:                                  John Dennis
                                             UPSALA, '80

                                             Steve Williams
                                             UPSALA, '87

SOFTBALL                                     Mike Kuchieski
                                             Springfield, '88

ASSISTANT:                                   Bill McGrady

MEN'S TENNIS:                                Faith Garcia

GOLF:                                        Vince Capraro
                                             UPSALA, '61




                                                                           Sports• 105
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                     Sports Candids




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Mike Walsh, Athletic Director
   Mike Walsh, who became Upsala's head football coach and athletic director on July 1, 1989, brings a
wealth of coaching and administrative experience to the College.
   Walsh was the assistant football coach at Wagner College from 1981 to 1988. He was the defensive
coordinator for five years, and during his tenure at Wagner the team had a 70-15-2 record, winning the
1987 NCAA Division 3 championship and earning three NCAA playoff bids.
   Walsh was also an assistant athletic director and assistant dean of admissions at Wagner. In these
administrative positions he was responsible for supervising recruiting, developing marketing plans,
managing scheduling, transportation, and budgeting.
   "Mike Walsh brings to our administration and athletic teams the skills and experience necessary to
achieve the College's goal of building an intercollegiate athletic program in which the standards of
achievement for student-athletes match the high academic expectations all Upsala students meet in the
classroom," Upsala College President Dr. Robert Karsten said.
   Walsh was a three-year starter at cornerback at Central Connecticut State, where he earned a bachelor of
science degree in 1977. He also played baseball and hockey at Central Connecticut, and played four sports
at Algonquin Regional High School in Massachusetts.
   Walsh also earned a master's of science degree in education at SUNY-Albany. He is married, has one
son, and lives in Staten Island.
What they say about Mike Walsh:
   "Upsala has hired a coach with a teacher's approach to the game and the knowledge of a big-time
football coach. He is well organized, has an outstanding work ethic, and always keeps football in
perspective," Jack Minogue, sports writer and columnist, Staten Island Advance.




                                                                                                  Sports• 109
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                      Do what you will, this life's
                    a fiction, and is made up of
                    contradiction.
                                                           -    Blake




                  CANDIDS/
                  EVENTS
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                                                                   Candids • 113
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       FUND RAISING BOOTHS




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                            Banner Parade




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                                                                     Events• 117
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                        HALF-TIME




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                                                                     Events• 119
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       WELCOME TO
     UPSALA COLLEGE i-
      These Facilities Are Provided
       For Students, Faculty, Staff
              And Visitors ..
       No Trespassing Regulations
              Are In Effect.
    Please Park In Designated Areas.                     ---
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                -.U PSAIA
I               COLLEGE




                                                                         Candids • 123
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                                                                    Candids • 127
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   Closing


     The 1990 edition of the UPSALITE is a reflection of the students and occurrences at Upsala
  College this past year. Although not every event or person is shown, the members of the
  VPSALITE staff have done the best job possible, keeping in mind the heavy scholastic, social,
  and economic pressures students face in these times.
     As mentioned previously on the VPSALITE page, there are particular faculty, staff, and
  students who've helped us get this book done. Whether their help was material or emotional, it
  made a difference. So, in closing, we offer thanks for support and hope that the 1990
  VPSALITE holds something for you.




                                                           Sincerely,



                                                           ~t~
                                                           Kirsten Sejda




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